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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

  Symbology Innovations, LLC,            §
                                         §   Civil Action No. 2:15-cv-1169-JRG-RSP
        Plaintiff,                       §   Lead Consolidated Case
                                         §
  v.                                     §
                                         §
  Adams Extract                          §
  Jaguar Land Rover North America, LLC   §   2:15-cv-01873-JRG-RSP




  DEFENDANT JAGUAR LAND ROVER NORTH AMERICA’S MOTION TO DISMISS,
                       OR ALTERNATIVELY,
                 FOR MORE DEFINITIVE STATEMENT
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         Defendant Jaguar Land Rover North America (“Defendant” or “JLRNA”) respectfully

  moves the Court to dismiss the indirect infringement claims of Plaintiff Symbology Innovations,

  LLC (“Plaintiff” or “Symbology”) as set forth in Symbology’s complaint for failure to state a

  claim. Alternatively, JLRNA moves the Court for an order requiring Symbology to provide a

  more definite statement of Symbology’s indirect infringement claims.

  I.     INTRODUCTION

         Symbology’s indirect infringement claims are fatally deficient. Symbology’s complaint

  includes the bare assertion that “Defendant has infringed and continues to infringe . . . through

  acts of contributory infringement or inducement.”       (Compl. ¶¶ 13, 23, 33, Dkt. 1.)       The

  complaint includes no other allegations related to indirect infringement. The complaint includes

  no allegations of knowledge of the patents asserted, nor any allegations of direct infringement by

  a third party. The complaint recites no acts of active inducement by JLRNA, no allegations that

  accused components are especially made for use in infringement, and no assertions that accused

  components have no substantial non-infringing use.       Symbology utterly fails to allege the

  requisite elements of inducement and contributory infringement, let alone sufficient facts to

  support such allegations. Accordingly, Symbology’s indirect infringement claims cannot stand

  as currently alleged.

  II.    ISSUES TO BE DECIDED

         1.      Whether the induced infringement claims in Counts I-III of the complaint fail to

  state a claim upon which relief may be granted.

         2.      Whether the contributory infringement claims in Counts I-III of the complaint fail

  to state a claim upon which relief may be granted.




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  III.   BACKGROUND

         Symbology filed its complaint against JLRNA on November 25, 2015, alleging direct,

  induced, and contributory infringement of three patents: U.S. Patent Nos. 8,424,752 (the “’752

  patent”), 8,651,369 (the “’369 patent”), and 8,936,190 (the “’190 patent”) (collectively, the

  “Asserted Patents”). (Compl. ¶¶ 8-37.)

         For its induced and contributory infringement claims, Symbology merely repeats the

  following two paragraphs:

         Upon information and belief, Defendant has infringed and continues to infringe
         one or more claims, including at least Claim 1, of the [Asserted Patents] by
         making, using, and/or printing Quick Response Codes (QR codes) covered by one
         or more claims of the [Asserted Patents]. Defendant has infringed and continues
         to infringe the [Asserted Patents] either directly or through acts of contributory
         infringement or inducement in violation of 35 U.S.C. § 271.

         On information and belief, Defendant has, at least through internal testing, made,
         used, and/or printed QR codes on printed and/or electronic media, including
         advertising and packaging, associated with select products and/or services. One
         specific example of Defendant’s activity involves the use of QR Codes on
         packaging and/or marketing materials associated with its Ranger [sic] Rover
         products. A user scanning the QR Code is provided with information about the
         product including, for example, product configurations and pricing. Upon being
         scanned, the QR code remotely transmits information regarding the product to the
         user via a device, such as a smart phone, for example. The use of QR codes in
         this manner infringes at least Claim 1 of the [Asserted Patents].

  (Id. ¶¶ 13-14, 23-24, 33-34 (emphasis added).) These paragraphs do no more than provide naked

  assertions of induced and contributory infringement. They fail to even allege the legal elements

  of induced and contributory infringement, let alone specific facts to support such allegations.

  IV.    LEGAL STANDARD

         Claims for indirect infringement must be judged by the pleading standards articulated in

  Twombly and Iqbal. In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681 F.3d

  1323, 1337 (Fed. Cir. 2012) (“[W]e must look to Supreme Court precedent for guidance

  regarding the pleading requirements for claims of indirect infringement.”). To state a valid

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  claim, a complaint must include a “short and plain statement of the claim showing that the

  pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), and must allege specific facts in support of

  each such claim. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (“Threadbare recitals of the

  elements of a cause of action, supported by mere conclusory statements, do not suffice.”); Bell

  Atl. Corp. v. Twombly, 550 U.S. 544, 557 (2007) (finding that a “naked assertion” of wrongdoing

  without “factual enhancement” does not state a claim). The purpose of this threshold pleading

  standard is twofold: (1) to show that the plaintiff has some reasonable basis for its allegations;

  and (2) to put the defendant on “fair notice” of the claims at issue. See Iqbal, 556 U.S. at 698;

  Twombly, 550 U.S. at 555 (explaining a complaint must “give the defendant fair notice of what

  the . . . claim is and the grounds upon which it rests” (citation omitted)).

         A claim for induced infringement under 35 U.S.C. § 271(b) requires proof: (1) of an act

  of direct infringement by another; and (2) that the defendant knowingly induced the infringement

  with the specific intent to encourage the other’s infringement. MEMC Elec. Materials, Inc. v.

  Mitsubishi Materials Silicon Corp., 420 F.3d 1369, 1378 (Fed. Cir. 2005). The intent element

  requires that the defendant “[know] that the induced acts constitute patent infringement.”

  Global-Tech Appliances, Inc. v. SEB S.A., 131 S. Ct. 2060, 2068 (2011); see also DSU Med.

  Corp. v. JMS Co. Ltd., 471 F.3d 1293, 1306 (Fed. Cir. 2006) (“[I]nducement requires ‘that the

  alleged infringer knowingly induced infringement and possessed specific intent to encourage

  another’s infringement.”’). Thus, in order to survive a motion to dismiss, the complaint must (1)

  adequately plead direct infringement by defendant’s customers, (2) contain facts plausibly

  showing that defendant specifically intended for its customers to infringe the asserted patents,

  and (3) contain facts plausibly showing that defendant knew that the customer’s acts constituted

  infringement. See Bill of Lading, 681 F.3d at 1339.



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         A claim for contributory infringement under 35 U.S.C. § 271(c) requires proof: (1) of an

  act of direct infringement; (2) that the defendant “knew that the combination for which its

  components were especially made was both patented and infringing”; and (3) that the

  components have “no substantial non-infringing uses.” Cross Med. Prods., Inc. v. Medtronic

  Sofamor Danek, Inc., 424 F.3d 1293, 1312 (Fed. Cir. 2004). A complaint fails to properly plead

  a claim of contributory infringement if it does not contain sufficient facts from which the Court

  may conclude that the claim is plausible. Bill of Lading, 681 F.3d 1337.

         Here, Symbology simply makes a bare assertion of induced and contributory

  infringement. Symbology fails to assert any facts from which the Court may conclude the

  claims are plausible.

  V.     ARGUMENT

         A.      The Complaint Includes No Allegations of Knowledge of the Asserted Patents
                 Nor Allegations of Direct Infringement by a Third Party

         Symbology’s complaint fails to include the two most basic elements of any indirect

  infringement claim—knowledge of the Asserted Patents and direct infringement by a third party.

  Thus, there is no plausible claim of indirect infringement because there are simply no facts in the

  complaint to support these claims.

         The complaint includes no allegations related to knowledge of the Asserted Patents.

  “Absence of knowledge is a fatal flaw in a claim for indirect infringement.”           Aguirre v.

  Powerchute Sports, LLC, No. SA-10-CV-702-XR, 2011 WL 3359554, at *5 (W.D. Tex. Aug. 4,

  2011) (dismissing indirect infringement claims where complaint “did not allege [defendant] had

  knowledge as to either of the forms of indirect patent infringement”). Plaintiff asserts that

  “Defendant has infringed and continues to infringe the [Asserted Patents] either directly or

  through acts of contributory infringement or inducement in violation of 35 U.S.C. § 271.”


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  (Compl. ¶¶ 13, 23, 33 (emphasis added).) This allegation implies that Symbology is claiming

  pre-suit indirect infringement. But, Symbology fails to allege any knowledge of the Asserted

  Patents—pre-suit or post-suit—to support its claim of indirect infringement. Thus, JLRNA “and

  the Court must speculate as to the extent and scope of Plaintiff's [indirect] infringement claim.

  Such allegations are not sufficient to satisfy the pleading standard established in Iqbal and

  Twombly.” Affinity Labs of Texas, LLC v. Toyota Motor N. Am., No. 13-cv-365, 2014 WL

  2892285, at *4 (W.D. Tex. May 12, 2014).

          Similarly, the complaint fails to adequately identify any direct acts of infringement by a

  third party.     Although the complaint does reference a “user” of JLRNA’s packaging and

  marketing material, this “user” is referenced in the context of JLRNA’s alleged direct

  infringement, not the user’s:

          One specific example of Defendant’s activity involves the use of QR Codes on
          packaging and/or marketing materials associated with its Ranger [sic] Rover
          products. A user scanning the QR Code is provided with information about the
          product including, for example, product configurations and pricing. Upon being
          scanned, the QR code remotely transmits information regarding the product to the
          user via a device, such as a smart phone, for example. The use of QR codes in
          this manner infringes at least Claim 1 of the [Asserted Patents].

  (Compl. ¶¶ 14, 24, 34 (emphasis added).) Symbology alleges that JLRNA’s activities, involving

  the transmission of information to the user when the QR Code is scanned, directly infringes the

  Asserted Patents. Symbology never alleges what acts by the user results in direct infringement.

  Thus, JLRNA has no “fair notice of what [Symbology’s indirect infringement] claim is and the

  grounds upon which it rests.” Twombly, 550 U.S. at 555.

          Without any allegations relating to knowledge of the Asserted Patents and direct

  infringement by a third party, there is no question that Symbology’s indirect infringement claims

  are deficient.



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         B.     Symbology Fails to Properly Allege the Other Elements of Induced
                Infringement

         Even setting aside Symbology’s failure to allege knowledge of the Asserted Patents and

  direct infringement by a third party, Symbology’s inducement claim cannot survive because it

  fails to recite the other elements of induced infringement. In particular, Symbology fails to

  allege that JLRNA had the specific intent to induce a third party’s actions, and knowledge that

  those actions amounted to infringement.

         This Court has dismissed indirect infringement claims that included far more detail than

  the claims here. In Core Wireless Licensing v. Apple Inc., the Court considered a complaint that

  alleged that defendant “provides instructive materials and information concerning operation and

  use of the accused products.” No. 6:14-CV-752-JRG-JDL, 2015 WL 4910427, at *4 (E.D. Tex.

  Aug. 13, 2015). The Court found these factual allegations insufficient to support a claim of

  inducement—“generic allegations that an alleged infringer provides instructional materials along

  with the accused products, without more, are insufficient to create a reasonable inference of

  specific intent for the purposes of an induced infringement claim.” Core Wireless Licensing

  S.A.R.L. v. Apple Inc., No. 6:14-CV-752-JRG-JDL, 2015 WL 4910427, at *4 (E.D. Tex. Aug.

  13, 2015).

         Here, Symbology does not allege any facts that establish a plausible inference that

  JLRNA has the specific intent to induce its customer’s actions (nor does Symbology even

  identify what those customer’s action are). Symbology identifies no instructional materials or

  guides, or any other acts by JLRNA that would direct its customer’s actions. Therefore, as in

  Core Wireless, Symbology’s induced infringement claim must be dismissed.




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         C.      Symbology Fails to Properly Allege the Other Elements of Contributory
                 Infringement

         Like Symbology’s induced infringement claims, Symbology’s complaint fails to recite

  the other elements of contributory infringement. In particular, Symbology fails to allege that the

  accused components are especially made for use in infringement and that the accused

  components have no substantial non-infringing uses.

         In U.S. Ethernet Innovations, LLC v. Cirrus Logic, Inc., the complaint included

  allegations that the accused products “embody the patented invention” and “customers who

  purchase systems and components thereof and operate such systems and components thereof in

  accordance with [defendant’s] instructions directly infringe one or more claims.”                No.

  6:12cv366-MHS-JDL, 2013 WL 8482270, at *4 (E.D. Tex. Mar. 6, 2013). Plaintiff argued that

  an inference of “no substantial non-infringing use” could be taken from these allegations. But,

  this Court rejected that argument, finding that those allegations “do not alone create a reasonable

  inference that the accused components have no substantial non-infringing use.” Id.

         Here, the complaint is even more deficient. Again, Symbology’s complaint fails to even

  identify any third party acts of direct infringement, let alone allege any facts that would lead to a

  reasonable inference that such acts have no substantial non-infringing alternatives. Therefore, as

  in U.S. Ethernet Innovations, Symbology’s contributory infringement claim must be dismissed.

  VI.    CONCLUSION

         For the foregoing reasons, JLRNA respectfully requests the Court dismiss Symbology’s

  indirect infringement claims.    Alternatively, JLRNA respectfully requests that the Court order

  Symbology to provide a more definite statement of its indirect infringement claims.




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  Dated: February 10, 2016             Respectfully submitted,


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                                CERTIFICATE OF SERVICE

         The undersigned hereby certifies that all counsel of record who are deemed to have
  consented to electronic service are being served with a copy of this document via the Court’s
  CM/ECF system per Local Rule CV-5(a)(3) on February 10, 2016.


                                                           /s/Michael E. Jones
